                               UNITED STATES DISTRICT
                              COURT EASTERN DISTRICT OF
                              TENNESSEE AT WINCHESTER


 UNITED STATES OF AMERICA                       )
                                                )
 v.                                             )   Case No. 4:15-cr-14-CLC-SKL
                                                )
 JESSIE DEWAYNE COKER                           )


                                          ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the

 Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the eight-

 count Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3)

 adjudicate Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a

 decision on whether to accept the plea agreement until sentencing; and (5) find Defendant shall

 remain in custody until sentencing in this matter [Doc. 48]. Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees

 with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS

 and ADOPTS the magistrate judge’s report and recommendation [Doc. 48 ] pursuant to 28

 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)    Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment
              is GRANTED;
       (2)    Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;
       (3)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of
              the Indictment;
       (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;
              and
       (5)    Defendant SHALL REMAIN in custody until sentencing in this matter, which
              is scheduled to take place on June 22, 2016, at 2:00 p.m. [EASTERN] before the
              Honorable Curtis L. Collier.




Case 4:15-cr-00014-CLC-SKL         Document 55 Filed 03/08/16            Page 1 of 2     PageID
                                         #: 133
      SO ORDERED.

      ENTER:


                                         /s/
                                         CURTIS L. COLLIER
                                         UNITED STATES DISTRICT JUDGE




                                      2
Case 4:15-cr-00014-CLC-SKL   Document 55 Filed 03/08/16   Page 2 of 2   PageID
                                   #: 134
